               05-44481-rdd    Doc 9692-17          Filed 09/28/07 Entered 09/28/07 16:40:29 Exhibit F-5
      In re Delphi Corporation, et al.                      Pg 1 of 1         Twentieth Omnibus Claims Objection
      Case No. 05-44481 (RDD)
         EXHIBIT F-5 - ADJOURNED BOOKS AND RECORDS TAX CLAIMS
             CREDITOR'S NAME AND             CLAIM                  ASSERTED                    DATE               DOCKETED
                   ADDRESS                  NUMBER                CLAIM AMOUNT                  FILED               DEBTOR


  STATE OF MICHIGAN                          9272              Secured:                        07/11/2006   DELPHI CORPORATION
  DEPARTMENT OF TREASURY                                        Priority:      $5,731,238.42                (05-44481)
  ASSISTANT ATTORNEY GENERAL                              Administrative:
  CADILLAC PL                                                Unsecured:
  3030 W GRAND BLVD STE 10 200                                     Total:      $5,731,238.42
  DETROIT, MI 48202

  WISCONSIN DEPARTMENT OF                    8233              Secured:                        06/19/2006   DELPHI AUTOMOTIVE
  REVENUE                                                       Priority:      $8,556,645.87                SYSTEMS LLC (05-44640)
  2135 RIMROCK RD                                         Administrative:
  MADISON, WI 53713                                          Unsecured:
                                                                   Total:      $8,556,645.87

                                   Total:      2                            $14,287,884.29




*UNL stands for unliquidated
                                                                     Page 1 of 1
